Case 2:04-cv-09049-DOC-RNB Document 9830-2 Filed 02/08/11 Page 1 of 4 Page ID
                                #:296575




                 Exhibit 2
Case 2:04-cv-09049-DOC-RNB Document 9830-2 Filed 02/08/11 Page 2 of 4 Page ID
                                #:296576




                                            RJN Ex. 2 - Page 22
Case 2:04-cv-09049-DOC-RNB Document 9830-2 Filed 02/08/11 Page 3 of 4 Page ID
                                #:296577




                                            RJN Ex. 2 - Page 23
Case 2:04-cv-09049-DOC-RNB Document 9830-2 Filed 02/08/11 Page 4 of 4 Page ID
                                #:296578




                                            RJN Ex. 2 - Page 24
